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                 EXHIBIT E
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From:               Assae-Bille, Vanessa (CFPB)
To:                 "John Bedard"
Cc:                 Patterson, Jehan (CFPB); Ronald Canter
Subject:            CFPB November 2019 CID
Date:               Thursday, March 12, 2020 2:16:02 PM


Dear Mr. Bedard,

I am writing to obtain an update on your intentions with respect to the November 14, 2019
CID.

Director Kraninger issued an order directing Law Offices of Crystal Moroney, P.C. to comply in
full with the CID within 10 days of February 10, 2020. It is also my understanding that your
client requested from the U.S. District Court for the Southern District of New York a
preliminary injunction relating to this investigation, and that the district court denied that
motion on February 27, 2020. Enforcement therefore asks that your client comply in full with
the CID immediately.

To the extent you have requests for modifications, you must articulate them in a request-
specific manner. A blanket request that Enforcement rely on a previous letter requesting
modifications pertaining to a CID with differently worded and numbered request is
inappropriate. Further, as indicated in Director Kraninger’s order, information must be
produced in a format acceptable to the Bureau. See generally 12 C.F.R. 1080.6(b). Please note
that Enforcement will not agree to rely on documents that were previously produced in a
format other than native files or in compliance with the Bureau’s document submissions
standards.
We look forward to hearing from you.

Thank you,
Vanessa

E. Vanessa Assae-Bille
Senior Litigation Counsel
Office of Enforcement
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